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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLORADO

 In re:                                    )
                                           )
 11380 SMITH ROAD, LLC,                    )     Case No. 19-10286(TBM)
 EIN: XX-XXXXXXX,                          )     Chapter 7
                                           )
         Debtor.                           )
                                           )
 _____________________________________________________________________________

        11380 EAST SMITH RD INVESTMENTS, LLC’S, MOTION FOR RELIEF FROM
           AUTOMATIC STAY PURSUANT TO SECTION 362(D)(1) AND (4) OF THE
                               BANKRUPTCY CODE


         COMES NOW 11380 East Smith RD Investments, LLC (“Lender”), the Debtor’s sole
 secured lender, for its Motion for Relief From Automatic Stay Pursuant to Section 362(d)(1) and
 (4) of the Bankruptcy Code (the “Motion”). In support of the Motion, Lender states as follows:

                                                 I.       Introduction

         1.      Lender seeks an order granting it relief from the automatic stay pursuant to Section
 362(d)(1) and (4) of the Bankruptcy Code so that it may proceed—for the third time—with its
 state law foreclosure against the real property commonly known as 11380 East Smith Road,
 Aurora, Colorado 80010 (the “Property”). As the Court is familiar, this single asset real estate
 Debtor in this involuntary bankruptcy case is already a debtor in this Court but in its own voluntary
 Chapter 11 case (the “Chapter 11 Case”). (Case No. 18-10965(TBM)).1 The Court may recall
 from Lender’s previously filed stay relief motion in the Chapter 11 Case that the Debtor sought
 bankruptcy protection on the eve of Lender’s state law public trustee’s sale nearly 4 months
 following the date Lender’s note had matured. Notwithstanding that Lender asserted the Chapter
 11 Case was filed in bad faith under the applicable Little Creek factors thereby warranting stay
 relief and/or dismissal of the Chapter 11 Case, Lender, Debtor, and Debtor’s principal (“Mr.
 Hard”) entered into a stipulated agreement that would allow the Debtor to either refinance the
 Lender’s note or sell the Property prior to January 1, 2019 (the “Drop-Dead Date”). If the Debtor
 was unable to get a deal done prior to the Drop-Dead Date, then Lender would be granted relief
 from the automatic stay. The terms of the stipulated agreement were subsequently incorporated
 into the Debtor’s confirmed Chapter 11 plan.

         2.      The Drop-Dead Date passed and the Lender—pursuant to the terms of its stipulated
 agreement with the Debtor—obtained relief from the automatic stay to recommence its public
 trustee’s sale. However, on the morning of the second public trustee’s sale on January 16, 2019,
 Tim Henzel (“Henzel”), one of the Debtor’s alleged creditors who was a party in the Chapter 11
 Case—now purportedly acting through an entity known as Mid America Plastic Systems
 1
     All citations to the record in the Chapter 11 Case will be styled as “Chp. 11 Docket No. ___”.


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 (“MAPS”)—commenced this involuntary bankruptcy case thereby frustrating Lender’s second
 attempt to liquidate its collateral at a public trustee’s sale. In connection with the Chapter 11 Case,
 Lender discovered that Henzel was not only a former business partner with Mr. Hard, but also a
 friend. Henzel/MAPS is represented in this involuntary bankruptcy case by the same attorney who
 represented Mr. Hard personally in the Chapter 11 Case.

         3.      Like in the Chapter 11 Case, Lender hereby moves for relief from the automatic
 stay for “cause”, pursuant to Section 362(d)(1) of the Bankruptcy Code, because: (a) the
 involuntary case was filed in bad faith; and (b) the terms of the stipulated agreement, including the
 stay relief provision, apply in subsequent cases arising under Title 11 of the United States Code,
 which would include this involuntary case. Lender also moves for relief from the automatic stay
 pursuant to Section 362(d)(4) of the Bankruptcy Code as the filing of this involuntary case was
 part of a scheme of to intentionally delay, hinder, or defraud Lender’s lawful exercise of its state
 law foreclosure rights.

                                       II.      Jurisdictional Statement

        4.      This Court has jurisdiction over this involuntary bankruptcy case pursuant to 28
 U.S.C. §§ 157(a)-(b), and 1334(a)-(b). This matter constitutes a core proceeding under 28 U.S.C.
 § 157(b)(2)(A) and (G). Venue is proper in this Court pursuant to 28 U.S.C. § 1409. The statutory
 and rule based predicates for the relief requested in the Motion are Sections 362(d)(1) and (4) of
 the Bankruptcy Code, Rules 4001 of the Bankruptcy Rules and L.B.R. 4001-1.

                                               III.     Background

 A.       The Debtor’s Loan Obligations.2

         5.     On October 25, 2016, the Debtor made, executed, and delivered its promissory note
 to Lender in the principal amount of $3,000,000 (the “Note”) as required under that certain loan
 agreement between Debtor and Lender. A true and correct copy of the Note and loan agreement
 are attached hereto as Exhibit A.

         6.      The obligations due and owing under the Note are secured by a first-position
 security interest against the Property (the “DOT”). Lender perfected its lien against the Property,
 on October 26, 2016, when it recorded a copy of the DOT with the Clerk and Recorder of Adams
 County, Colorado, as Reception No. 2016000091839. A true and correct copy of the DOT is
 attached hereto as Exhibit B.

        7.      The Debtor’s authorized representative is Mr. Hard who also personally guaranteed
 all amounts due and owing under the Note. A true and correct copy of the Affidavit of Mr. Patrick
 Dunn is attached hereto as Exhibit C.

 2
   A more thorough description of the Debtor’s loan obligations and collateral package with the Lender, along with
 copies of the relevant loan documents, is set forth in paragraphs 5 through 14 of Lender’s Motion: (I) for Relief From
 the Automatic Stay Pursuant to Section 362(d)(1) of the Bankruptcy; and (II) to Dismiss This Chapter 11 Bankruptcy
 Case for Bad Faith Pursuant to Section 1112(b) of the Bankruptcy Code (Chp. 11 Docket No. 70) (the “Stay
 Relief/Dismissal Motion”).

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        8.     Debtor failed to make the regular payments due under the Note for the months of
 July 2017, August 2017, September 2017, and October 2017. (Ex. C at ¶ 11).

         9.     On October 25, 2017, the Note matured by its terms, and the Debtor failed to repay
 the obligations due and owing thereunder according to the terms thereof. (Id. at ¶ 12).

        10.     Prior to the commencement of the Chapter 11 Case (defined below), Lender had
 properly noticed a Sale of the Property that was set for February 14, 2018 at 10:00 a.m. (the
 “Trustee’s Sale”). (Id. at ¶ 13).

 B.         Background Regarding the Debtor’s Currently Pending Chapter 11 Bankruptcy
            Case.

       11.     On February 13, 2018—the eve of the Trustee’s Sale—the Debtor initiated its
 Chapter 11 Case when it filed its voluntary petition for relief. (Chp. 11 Docket No. 1).

         12.   The Debtor filed the Chapter 11 Case as a single asset real estate entity as such term
 is defined under Section 101(51B) of the Bankruptcy Code, and identified the Property as the
 Debtor’s only meaningful asset. (Id. at p. 2 and 15).3

        13.     The Debtor’s Amended Schedule F identified only three unsecured creditors: (i)
 Henzel in the amount of $1,200,000 for a purported loan, (ii) Owners Insurance Company in an
 “unknown” amount that is disputed, contingent, and unliquidated, and (iii) Xcel Energy in the
 amount of $32,000.4 (Chp. 11 Docket No. 37).

            14.      The Debtor is owned entirely by Mr. Hard. (Chp. 11 Docket No. 5).

       15.    On April 10, 2018, the Lender filed its Stay Relief/Dismissal Motion. (Chp. 11
 Docket No. 70).

          16.    In the Stay Relief/Dismissal Motion, Lender argued that it should be granted relief
 from the automatic stay, or that the entire Chapter 11 Case be dismissed, on the basis that the filing
 of the Chapter 11 Case satisfied the relevant Little Creek factors including: (i) the Debtor’s only
 asset is the Property which is encumbered by Lender’s lien; (ii) the Debtor has only 1 employee;5
 (iii) the Debtor only had 2 other unsecured creditors and that Henzel’s purported claim appeared


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   The Debtor’s Schedule B in the Chapter 11 Case identified only three assets: (i) intercompany loans between the
 Debtor and two entities which Mr. Hard was the sole owner of in the amount of $4,365,682.00 which the Debtor
 acknowledged are likely uncollectible; (ii) A/R in the amount of $135,752.22; and (iii) a legal claim against an
 insurance company relating to a hail damage claim that the Debtor values at $2,500,000. (Chp. 11 Docket No. 1 at p.
 13-15).
 4
  At the first meeting of creditors, the Debtor testified that Xcel’s debt had been paid in full post-petition. (Chp. 11
 Docket No. 70 at ¶ 25(x).
 5
     Upon testifying under oath at the Deposition, the Debtor admitted that it actually has no employees.

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 to be questionable;6 (iv) the Debtor commenced the Chapter 11 Case on the eve of the Trustee’s
 Sale; and (v) the Debtor had no business to reorganize. (See id.).

         17.    On May 1, 2018, the Lender deposed the Debtor’s representative, Mr. Hard,
 regarding numerous topics in advance of a trial on the Stay Relief/Dismissal Motion including the
 particular aspects of Henzel’s purported claim in the amount of $1,200,000 (the “Deposition”). A
 true and correct copy of the transcript from the Deposition is attached hereto as Exhibit D.

        18.    On May 15, 2018, the Lender and Debtor entered into that certain Stipulated
 Agreement regarding, inter alia, the treatment of Lender’s claim during the Chapter 11 Case, and
 Lender’s rights and remedies upon the occurrence or non-occurrence of certain events in the
 Chapter 11 Case (Chp. 11 Docket No. 98-2) (the “Agreement”).

          19.   The Agreement allowed the Debtor to either sell the Property or refinance Lender’s
 Note no later than January 1, 2019, i.e., the Drop-Dead Date. (Id. at ¶ 2). If the Drop-Dead date
 occurred, Lender was then authorized to, inter alia, obtain agreed relief from the automatic stay in
 order to “exercise all remedies under applicable non-bankruptcy law against the Property.” (Id.
 at ¶ 4). The Debtor agreed that if the Chapter 11 Case were ever dismissed that it would not re-
 file a subsequent bankruptcy case under any Chapter of the Bankruptcy Code. (Id. at ¶ 5(e)).

          20.       Importantly, Section 13 of the Agreement states the following:

          SURVIVAL. The terms of this Agreement shall survive the appointment of, and be
          binding upon, any trustee that may subsequently be appointed in the Chapter 11
          Bankruptcy Case or upon a conversion of the Bankruptcy Case to Chapter 7 under
          the Bankruptcy Code, or upon dismissal of the Bankruptcy Case or any other case
          pending under title 11 of the United States Code.

          (Id. at ¶ 13).

        21.   Mr. Hard, in his individual capacity and as guarantor of the Note, was also a party
 to the Agreement and was represented by Mr. Barber during the course of negotiating the
 Agreement. (Id. at p. 10 and 15).

        22.    The motion to approve the Agreement was served on the Debtor’s estate including
 Henzel. (Chp. 11 Docket No. 107-1). Henzel did not object to the approval of the Agreement.

        23.   On June 29, 2018, the Court entered its Order Approving the Agreement in full.
 (Chp. 11 Docket No. 110).

 6
   As set forth in the Stay Relief/Dismissal Motion, Lender questioned the validity and legitimacy of Henzel’s claim
 due to the amount alleged, the personal relationship between Mr. Hard and Henzel, and Henzel’s indifference with
 respect to enforcing his claim. (See Chp. 11 Docket No. 70, p. 9 at fn. 2) (“Henzel’s claim raises additional questions
 as to its legitimacy. Apparently, Henzel is someone who the Debtor has known over the years who happened to loan
 the Debtor approximately $1.2 million in order to improve property formerly owned by the Debtor. However, Henzel
 never took a security interest in the property that his loan proceeds were used to improve. Given the length of
 relationship between the Debtor and Henzel along with the failure to take any collateral to secure a $1.2 million loan,
 Lender questions whether Henzel’s claim is truly legitimate and at arm’s length.”).

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        24.     On September 20, 2018, the Debtor filed its: (i) Second Amended Plan of
 Reorganization (Chp. 11 Docket No. 123) (the “2nd Amended Plan”); and (ii) Second Amended
 Disclosure Statement (Chp. 11 Docket No. 124) (the “2nd Amended Disclosure Statement”).

         25.    The 2nd Amended Plan states that “[t]he terms and conditions of the [] Agreement
 are incorporated into and made a part of this Plan. A copy of the [] Agreement is attached hereto
 as Exhibit ‘1’.” (Chp. 11 Docket No. 123, p. 8 at § 4.2). In fact, as proposed under the 2nd
 Amended Plan, the Agreement was attached as an exhibit.7 (Chp. 11 Docket No. 123-1).

         26.     On September 27, 2018, the Debtor served both the 2nd Amended Plan and 2nd
 Amended Disclosure Statement upon Henzel. (Chp. 11 Docket No. 130). Henzel did not object
 to the terms of the 2nd Amended Plan or 2nd Amended Disclosure Statement.

        27.    On October 31, 2018, the 2nd Amended Plan, with the terms of the Agreement
 expressly incorporated therein, was confirmed (the “Confirmation Order”). (Chp. 11 Docket
 No. 138).

 C.       Background Regarding Events Subsequent to the Drop-Dead Date.

         28.    The Debtor was unable to sell the Property or refinance Lender’s Note prior to the
 occurrence of the Drop-Dead Date. Accordingly, on January 2, 2019, Lender filed its Notice of
 Occurrence of Drop-Dead Date and Agreed Relief From Automatic Stay Pursuant to Section 4(b)
 of the Court Approved Stipulated Agreement (Chp. 11 Docket No. 159) (the “Stay Relief Notice”).

        29.    In furtherance of the Stay Relief Notice, the Court entered a Comfort Order
 Granting Relief From Automatic Stay Pursuant to Section 4(b) of Court Approved Stipulated
 Agreement (Chp. 11 Docket No. 160) (the “Comfort Order”).

        30.    Upon entry of the Comfort Order, Lender proceeded to re-commence its Trustee’s
 Sale with the Adams County Public Trustee for January 16, 2019 at 10:00 a.m. (the “Second
 Trustee’s Sale”).

          31.    On January 16, 2019, approximately 33 minutes before the Second Trustee’s Sale
 was scheduled to begin, Lender received notice from the Adams County Public Trustee that this
 involuntary bankruptcy case had been filed earlier that morning thereby staying the Second
 Trustee’s Sale. Attached as Exhibit E is a true and correct copy of the notice of the commencement
 of this involuntary case.




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   Furthermore, prior to confirming the 2nd Amended Plan, the Court entered an order approving a stipulation between
 the Parties which provided that “[f]or the avoidance of doubt, to the extent any provision of the Plan conflicts with the
 Stipulated Agreement, then the terms of the Stipulated Agreement shall control in all circumstances.” (See Chp. 11
 Docket Nos. 132, 132-1 at ¶ 2, and 137).

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 D.      Background Regarding This Involuntary Bankruptcy Case.

         32.    The petition filed in this involuntary bankruptcy case (the “Involuntary Case”)
 does not contain much information other than: (i) the only petitioning creditor is Mid America
 Plastic Systems (“MAPS”); (ii) the nature of MAPS’ claim is for “money loaned”; (iii) the amount
 of MAPS’ claim is for $1,200,000; (iv) Henzel signed the involuntary petition as MAPS’
 representative; and (v) MAPS seeks relief under Chapter 7 of the Bankruptcy Code. (Docket No.
 2).

        33.     Mr. Barber, who represented Mr. Hard in negotiating the terms of the Agreement
 as a guarantor of Lender’s Note, signed and filed the involuntary petition as counsel for MAPS.
 (Id.).

         34.    The Debtor appears to be represented by different counsel in this Involuntary Case
 than in the Chapter 11 Case. (Docket No. 4).

       35.    On January 24, 2019, Lender filed its Motion for Entry of Order requesting that the
 Court grant Lender relief from the automatic stay pursuant to Sections 4(b) and 13 of the
 Agreement (the “Motion to Enforce Agreement”) (Docket No. 6).

         36.      On January 25, 2019, Lender filed its Motion to Dismiss Involuntary Bankruptcy
 Case (Docket No. 7) (the “Dismissal Motion”). The Dismissal Motion seeks dismissal on the
 basis that: (i) the Involuntary Case was filed in bad faith and for no legitimate purpose other than
 to frustrate Lender’s state law foreclosure rights; and (ii) Henzel/MAPS’ claim against the Debtor
 should be recharacterized from debt to equity thereby eliminating Henzel/MAPS’ status as a
 petitioning creditor under Section 303 of the Bankruptcy Code.

        37.     On January 30, 2019, the Court denied the Motion to Enforce Agreement without
 prejudice and further stated that “a new motion for relief from stay must be filed in this Involuntary
 Case [and] [a]ny new motion for relief from stay may be predicated on the Stipulated Agreement.”
 (Docket No. 10 at p. 1).

 E.      Background Regarding Henzel’s Purported Claim.

         38.    Henzel’s purported claim in the Chapter 11 Case, in the amount of $1,200,000 for
 a “loan”, appears to be the exact same claim now asserted by MAPS in this Involuntary Case, also
 in the amount of $1,200,000 for “money loaned”.

        39.    In the Chapter 11 Case, the Debtor scheduled Henzel’s address at 1510 Jade Road,
 Columbia, Missouri 65201. And in this Involuntary Case, MAPS identifies its address as 1510
 Jade Road, Columbia, Missouri.

         40.    Prior to the Deposition, the Debtor produced the most “current” agreement
 evidencing Henzel’s purported claim of $1,200,000 (the “Henzel Agreement”). A true and
 correct copy of the Henzel Agreement is attached hereto as Exhibit F.



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       41.    The Debtor testified to, inter alia, the following facts regarding Henzel, the Henzel
 Agreement, and the Debtor’s relationship with Henzel:

                 i.   Mr. Hard has known Henzel for between 10 and 20 years. (44:19-45:7).

                ii.   Mr. Hard and Henzel are friends. (45:8-11).

               iii.   Mr. Hard and Henzel were former business partners in 3555 Moline, LLC.
                      (45:12-16).

               iv.    As of the date of the Deposition, the Debtor’s only creditors were Xcel, Henzel,
                      and Owners Insurance Agency. (43:24-44:13).

                v.    As of the petition date in the Chapter 11 Case, the Debtor purportedly owes
                      Henzel $1,200,000. (45:17-19).

               vi.    The most current agreement with Henzel is the Henzel Agreement. (46:24-
                      47:2).

              vii.    There may, or may not, be three or four promissory notes evidencing Henzel’s
                      claim for $1,200,000. (47:15-20).

             viii.    Whenever the Debtor needed money from Henzel, all it had to do was call
                      Henzel. There was no formal procedure to receive money. (48:1-9).

               ix.    As of the date of the Deposition, Henzel’s claim was about five years old.
                      (48:18-19).

                x.    As of the date of the Deposition, $785,000 of Henzel’s $1,200,000 claim is
                      potentially between five and six years old (the “Original Debt”). (49:21-23).

               xi.    The Debtor was uncertain of whether the Original Debt with Henzel: (i) had a
                      maturity date, (ii) accrued interest, (iii) the Debtor was ever required to make
                      scheduled payments to Henzel; and (iv) what amounts were, in fact, actually
                      paid to Henzel. (50:7-25).

              xii.    The Debtor never adopted a formal resolution authorizing the Original Debt or
                      the additional $415,000 (the “New Debt”) borrowed under the Henzel
                      Agreement. (51:8-13; 60:12-19).

             xiii.    The funds from the Original Debt were used to purchase equipment and capital
                      expenditures including for Mr. Hard’s wholly owned entity Hi-Tech Recycling.
                      (51:17-21; 52:13-25).

             xiv.     There were no restrictions placed upon the Debtor as to how it desired to spend
                      the $1,200,000 borrowed from Henzel. (53:4-15).




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              xv.    The $1,200,000 was used to pay obligations of not only the Debtor, but
                     obligations of all of Mr. Hard’s personally owned entities. (53:16-54:11; 57:18-
                     58:25).

             xvi.    Upon selling the Debtor’s real property located at 3555 Moline Street, Aurora,
                     Colorado (the “Moline Property”), for $3,900,000, the Debtor did not use any
                     sale proceeds therefrom to repay Henzel but instead used such proceeds to pay
                     debts of Mr. Hard’s other wholly owned entities. (22:17-23; 54:19-55:6).

             xvii.   The repayment of Henzel, under the terms of the Henzel Agreement, is wholly
                     contingent upon the Debtor entering into a new lease with Reloni Group, LLC
                     (“Reloni”), which such lease was never entered into and is ineffective. (66:19-
                     24; 80:13-16).

            xviii.   The Debtor admits that because the Reloni lease never became effective,
                     Henzel’s claim fails. (133:10-17).

             xix.    The repayment of Henzel’s debt under the Henzel Agreement allowed Henzel
                     to be paid more than $1,200,000 of debt he is purportedly owed despite the fact
                     there is no interest rate contained in the Henzel Agreement. (75:22-76:23).

              xx.    At the time the Debtor entered into the Henzel Agreement, the Debtor was
                     immediately in default thereof. (78:10-13).

             xxi.    Despite purportedly lending the Debtor $1,200,000, and the Henzel Agreement
                     granting Henzel a security interest in all monies received from Reloni, Henzel
                     never perfected a security interest to secure the purported loan of $1,200,000.
                     (47:21-22; 78:14-17).

             xxii.   So long as the Debtor owns the Property, then there is no fixed maturity date to
                     repay the $1,200,000 to Henzel under the Henzel Agreement. (78:18-79:1).

            xxiii.   Henzel has never taken any legal action against either the Debtor or Mr. Hard
                     (as guarantor) to recover any portion of the $1,200,000 he purportedly loaned
                     to the Debtor. (79:8-13; 80:21-23).

            xxiv.    The Henzel Agreement contains no default provisions. (79:14-19).

             xxv.    The Henzel Agreement contains no remedies provisions. (80:6-8).

            xxvi.    Henzel could not accelerate the obligations under the Henzel Agreement on
                     account of any defaults by the Debtor. (80:17-20).

           xxvii.    Prior to entering into the Henzel Agreement and obtaining the New Debt, the
                     Debtor did not look to borrow funds from any other person to find better terms.
                     (81:8-18).




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           xxviii.     In connection with providing a personal financial statement to a prospective
                       lender to refinance the Note, Mr. Hard did not list in his personal liabilities his
                       obligations under the Henzel Agreement despite guaranteeing the obligations
                       thereunder. (245:1-249:12).

             xxix.     Obtaining equity from the sale of the Property is part of Mr. Hard’s overall
                       personal retirement strategy. (190:19-25).

             xxx.      Protecting the equity in the Property and enhancing Mr. Hard’s personal
                       retirement was one of the reasons the Debtor commenced the Chapter 11 Case.
                       (191:12-21).

             xxxi.     Mr. Hard’s wholly owned plastics company had dealings with Henzel for many
                       years. (44:14-18).

        42.     Given that: (i) the claim amounts of Henzel and MAPS are identical, (ii) the
 addresses of Henzel and MAPS are identical, (iii) Mr. Hard testified that the Debtor has no other
 claims other than Xcel, Owners Insurance Agency, and Henzel, (iv) the Debtor’s schedules and
 2nd Amended Plan filed under oath in the Chapter 11 Case identify only Henzel—not MAPS, and
 (v) Mr. Hard’s relationship with Henzel spans numerous years as friends, business partners, and a
 purchaser of equipment, the claim of Henzel and MAPS is the same claimant.8

                                            IV.        Relief Requested

         43.    Lender requests that the Court grant Lender relief from the automatic stay pursuant
 to Section 362(d)(1) of the Bankruptcy Code for “cause” because: (a) the Involuntary Case was
 filed in bad faith; and (b) the terms of the Agreement survived the Chapter 11 Case and are
 applicable herein. Lender further requests that the Court grant relief from the automatic stay
 pursuant to Section 362(d)(4)(B) because the filing of the Involuntary Case was part of a scheme
 to delay, hinder, or defraud Lender from validly exercising its state law foreclosure rights.

                                                  V.      Argument

 A.       “Cause” Exists, Pursuant to Section 362(d)(1) of the Bankruptcy Code, Because This
          Involuntary Case was Filed in Bad Faith.

         44.     The Tenth Circuit Court of Appeals has recognized that a bankruptcy case that is
 filed in bad faith can serve as independent “cause” for purposes of Section 362(d)(1). See In re
 Nursery Land Development, Inc., 91 F.3d 1414, 1416 (10th Cir. 1996); Pacific Rim Invs., LLP v
 Oriam, LLC (In re Pacific Rim Invs., LLP), 243 B.R. 768 (D. Colo. 2000). As set forth in the Stay
 Relief/Dismissal Motion, Lender asserted that “cause” existed, under Section 362(d)(1) of the
 Bankruptcy Code, because the Chapter 11 Case was filed in bad faith under the applicable Little
 Creek factors. (Chp. 11 Docket No. 70 at ¶¶ 33-36). Lender submits that many of the same facts

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  Lender has challenged the validity of Henzel’s claim in the Dismissal Motion requesting that the Court recharacterize
 the claim from debt to equity under the principles set forth in Redmond v. Jenkins (In re Alternate Fuels, Inc.), 789
 F.3d 1139, 1149 (10th Cir. 2015). (See Docket No. 7 at ¶¶ 45-57).

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 and arguments supporting relief from the automatic stay that were made in the Chapter 11 Case
 also support stay relief in this Involuntary Case.

          45.    Furthermore, as discussed in detail in the Dismissal Motion, other bankruptcy
 courts have found that involuntary bankruptcy cases were filed in bad faith when they are filed by
 petitioning creditors with no legitimate purpose, or the case was filed by the petitioning creditors
 at the orchestration of the debtor. See In re Delray Assocs. Ltd. Pshp., 212 B.R. 511 (Bankr. D.
 Md. 1997) (dismissing involuntary petition as it was a serial filing in bad faith which was
 orchestrated by the single asset real estate debtor in order to prevent a secured creditor from
 foreclosing its deed of trust); In re VII Holdings, Co., 362 B.R. 663, 666 (Bankr. D. Del. 2007)
 (analyzing whether non-petitioning creditor can recover damages against a petitioning creditor for
 an “involuntary petition [that] was filed in bad faith and ‘for no other purpose than to improperly
 frustrate the [foreclosure] efforts” of two secured creditors after stay relief was obtained in an
 earlier filed bankruptcy case.); In re Winn, 49 B.R. 237, 239 (Bankr. M.D. Fla. 1985) (“[W]hether
 it is voluntary or involuntary, the Court must protect the integrity of its jurisdiction and when the
 issue is raised, it is proper for the Court to inquire to what extent the Debtor is involved in the
 institution of an involuntary case.”); In re Global Ship Sys., LLC, 391 B.R. 193, 204-05 (Bankr.
 S.D. Ga. 2007) (“a debtor’s orchestration of an involuntary case is a fact which can be added to
 the non-exclusive list of criteria for evaluating good/bad faith.”).

        46.     In this case, the evidence to date supports two inescapable conclusions: (i) that the
 Involuntary Case was filed for no legitimate purpose other than to frustrate Lender’s second
 attempt at foreclosing on its collateral; and (ii) the filing of the Involuntary Case was at the
 orchestration of the Debtor and/or Mr. Hard. Accordingly, under the case law cited in the previous
 paragraph, the case was filed in bad faith thereby constituting “cause” for purposes of Section
 362(d)(1) of the Bankruptcy Code.

          47.     Regarding the former conclusion, exactly like the pending Chapter 11 Case, the
 Involuntary Case was commenced before the Second Trustee’s Sale—in fact on the morning
 thereof. (Supra at ¶ 31). The obvious intent of the filing and timing of both the Chapter 11 Case
 and Involuntary Case was to prevent Lender from exercising its state law foreclosure rights. Other
 than the Lender exercising its rights under the Agreement to foreclose, nothing had changed with
 respect to the Debtor’s business landscape which would have warranted commencing the
 Involuntary Case. In re Delray Assocs. Ltd. Pshp., 212 B.R. at 515-16 (a successive involuntary
 bankruptcy filing was inappropriate because it was anticipated under the confirmed plan that
 foreclosure rights could be exercised if the debtor’s plan to sell or refinance failed). The Debtor,
 Mr. Hard, and Henzel each knew that if the Debtor was unable to sell the Property or refinance
 Lender’s Note, then the Lender would obtain stay relief in order to foreclose. Moreover, per the
 terms of the 2nd Amended Plan and Confirmation Order, this outcome was a realistic possibility.
 To the extent that Henzel took issue with the possibility of Lender exercising its foreclosure rights
 upon a failure to sell or refinance, Henzel should have objected to the Agreement being approved
 or to the 2nd Amended Plan being confirmed. However, Henzel did not object and sat on his rights
 when he had every opportunity to participate in the Debtor’s Chapter 11 Case. Instead, Henzel
 filed this duplicitous and unnecessary Involuntary Case wasting both the Lender and Court’s time
 with this superfluous action. To the extent, Henzel sought to stop the Second Trustee’s Sale, why
 didn’t he file a motion in the Chapter 11 Case to do so? The reason being is that he knew the Court


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 would deny any request because the Agreement had been final, the Agreement was incorporated
 into the terms of the 2nd Amended Plan, and Henzel had idly sat on his rights during the Chapter
 11 Case. Thus, the only perceived purpose of commencing the Involuntary Case was for the
 Debtor, Mr. Hard, and Henzel to seek a second bite at the apple which would have the effect of
 buying more time for the Debtor to refinance Lender’s Note or close on a sale of the Property.9
 Accordingly, the Involuntary Case was not commenced for any legitimate purpose and was
 intended to stop Lender’s Second Trustee’s Sale. In re Winn, 49 B.R. at 239 (dismissing a serial
 involuntary petition for bad faith when the sole purpose was to obtain the benefit of the automatic
 stay in order to frustrate a creditor in its attempts to collect a judgment).

        48.     Regarding the latter conclusion, the facts strongly suggest that the Involuntary Case
 was orchestrated by the Debtor, Mr. Hard, and Henzel in an effort to prevent Lender from
 foreclosing on the Property and to save whatever equity may exist in the Property. As admitted at
 the Deposition, the equity in the Property is part of Mr. Hard’s overall retirement strategy and the
 Chapter 11 Case was initially filed to protect and enhance Mr. Hard’s retirement. (See supra at ¶
 41 (xxix)-(xxx)). When the Drop-Dead Date passed and the Debtor failed to either refinance
 Lender’s Note or sell the Property, the Debtor and Mr. Hard were at imminent risk of losing the
 Property and any equity therein. Furthermore, pursuant to the terms of the Agreement, both the
 Debtor and Mr. Hard were prevented from objecting to Lender pursuing its state law rights to
 recommence its foreclosure and obtain the Comfort Order. Accordingly, the Debtor and Mr. Hard
 were out of options.

         49.     However, in a last minute effort to save the Property from foreclosure, Henzel, now
 acting through MAPS—which happens to share: (i) the same address as Henzel; (ii) the same
 $1,200,000 claim amount as Henzel; and (iii) the same status of being based upon a purported
 “loan” as Henzel—commenced this Involuntary Case. (See supra at ¶¶ 38 and 39). As admitted
 by the Debtor, Mr. Hard and Henzel have been friends for years and were onetime business
 partners. (See supra at ¶¶ 41 (i)-(iii)). In re Winn, 49 B.R. at 240 (when the petitioning creditors
 are friends of the debtor they “were no doubt motivated to join in the involuntary petition by their
 desire to help the Debtor and not by their desire to pursue the Debtor in order to recover on their
 claims.”). Furthermore, had Henzel truly been concerned about the collectability of his claim at
 any point prior to commencing the Involuntary Case why did he not: (i) commence the Involuntary
 Case prior to the Chapter 11 Case; (ii) institute any sort of collection action against the Debtor or
 Mr. Hard during the preceding 5-6 years his debt was incurred; (iii) perfect a security interest as
 authorized under the Henzel Agreement; (iv) object to the approval of the Agreement; or (v) object
 to the approval of the Agreement or confirmation of the 2nd Amended Plan? Instead, Henzel sat
 on his rights until the Debtor and Mr. Hard were out of all viable options to prevent Lender from
 exercising its rights. All of these facts create the impression, if not completely demonstrate, that
 the Involuntary Case was orchestrated by the Debtor and Mr. Hard, and that the Involuntary Case
 was filed in bad faith. Accordingly, “cause” exists under Section 362(d)(1) of the Bankruptcy
 Code, because this Involuntary Case was filed in bad faith.

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   Furthermore, permitting Henzel a second bite at the apple with this Involuntary Case would encourage all aggrieved
 unsecured creditors in single asset real estate cases to file involuntary petitions when the secured lender forecloses on
 its collateral per the terms of a confirmed plan. These types of superfluous proceedings would wreak havoc on the
 Court’s docket and further delay legitimate foreclosures in the hope that an unsecured creditor—who failed to
 participate in the underlying Chapter 11 case—would be able to recover on its claim.

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 B.      “Cause” Exists, Pursuant to Section 362(d)(1) of the Bankruptcy Code, Because the
         Terms of the Agreement Survived the Chapter 11 Case and Apply to This Involuntary
         Case.

          50.     “Cause” also exists in this Involuntary Case because the terms of the Agreement—
 including relief from the automatic stay upon the occurrence of the Drop-Dead Date—were
 intended to expressly apply in future cases under Title 11. (See Chp. 11 Docket No. 98-2 at § 4(b)
 (stating that relief from the automatic stay under the terms of the Agreement shall be under Section
 362(d)(1) of the Bankruptcy Code). Specifically, Section 13 of the Agreement, in relevant part
 states “[t]he terms of this Agreement shall survive . . . any other case pending under title 11 of the
 United States Code.” (Chp. 11 Docket No. 98-2 at § 13). Accordingly, all terms of the Agreement
 were intended to be binding upon the Debtor in any other future bankruptcy case and equally apply
 in this Involuntary Case.10 Moreover, despite this being a separate case, the Agreement is also
 binding upon Henzel/MAPS as he was a party to the Chapter 11 Case and did not object to approval
 of the Agreement at any point during the Chapter 11 Case. Therefore, the Court may further grant
 relief from the automatic stay, pursuant to Section 362(d)(1) of the Bankruptcy Code, because the
 terms of the Agreement apply in this Involuntary Case and are binding upon all parties hereto.

 C.      The Court Should Further Grant Relief From the Automatic Stay Pursuant to Section
         362(d)(4)(B) of the Bankruptcy Code Because the Involuntary Case was Part of a
         Scheme to Hinder, Delay or Defraud Lender’s Exercise of its State Law Foreclosure
         Rights.

         51.        Section 362(d)(4)(B) of the Bankruptcy Code provides:

         [W]ith respect to a stay of an act against real property under subsection (a), by a
         creditor whose claim is secured by an interest in such real property, if the court
         finds that the filing of the petition was part of a scheme to delay, hinder, or defraud
         creditors that involved either—

                    (B) multiple bankruptcy filings affecting such real property.

         11 U.S.C. § 362(d)(4)(B).

         52.     Section 362(d)(4) of the Bankruptcy Code “addresses conduct that could be
 indicative of an abusive filing in relation to real property foreclosure.” In re API M&I Holding,
 LLC, 2015 Bankr. LEXIS 139, at *18 (Bankr. D. Kan. Jan. 14, 2015). “Before a court will lift the
 automatic stay, it must find that (1) the debtor's bankruptcy filing was part of a scheme; (2) the
 scheme was intended to delay, hinder, or defraud the creditor; and (3) the scheme involved either
 (a) the transfer of some interest in the real property without obtaining approval from the court or
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    Moreover, this Court has the inherent power to control its own docket and consolidate related proceedings in the
 interest of judicial economy. See 11 U.S.C. § 105(a) (allowing the Court to issue any order, process, or judgment
 necessary or appropriate to carry out the provisions of the Bankruptcy Code); Fed. R. Bankr. P. 7042 (allowing the
 Court to consolidate proceedings involving common questions of law or fact) and 9014(c) (incorporating Rule 7042
 into contested matters). The petition in this Involuntary Case expressly acknowledges the pending Chapter 11 Case.
 (See Docket No. 2 at p. 2). Accordingly, this Court can consolidate the Involuntary Case with the Chapter 11 Case
 further authorizing Lender to obtain stay relief under the terms of the Agreement.

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 the secured creditor, or (b) multiple bankruptcy filings affecting the real property.” In re Tejal
 Inv., LLC, 2012 Bankr. LEXIS 5760, at *5 (Bankr. D. Utah Dec. 12, 2012). The creditor bears the
 burden of proof on each element of Section 362(d)(4)(B). Id.

                    i.     The Involuntary Petition was Part of a Scheme Orchestrated by the
                           Debtor, Mr. Hard, and Henzel.

         53.     Citing Black’s Law Dictionary, Judge Tallman has defined the term “scheme” to
 mean “an artful plot or plan, usu. to deceive others <a scheme to defraud creditors>.” JPMorgan
 Chase Bank, N.A. v. Hutchins (In re Hutchins), 2016 Bankr. LEXIS 2367, at *7 (Bankr. D. Colo.
 June 23, 2016). The plain language of Section 362(d)(4) does not require that the Debtor be the
 party who “files” the petition and, accordingly, such section can equally apply to those creditors
 who file involuntary petitions. For all of the reasons stated above in Part V.A of the Motion,
 Lender submits that there is ample evidence that the filing of the Involuntary Case was done in
 furtherance of a scheme which was orchestrated by the Debtor, Mr. Hard and Henzel, and Lender
 has satisfied the first element for relief under Section 362(d)(4)(B) of the Bankruptcy Code.

                    ii.    The Scheme was Unequivocally Intended to Delay, Hinder, and
                           Defraud Lender From Exercising its State Law Foreclosure Rights.

         54.     Following the Bankruptcy Technical Corrections Act of 2010, it is sufficient to
 grant relief from the automatic stay under Section 362(d)(4) when there is a “finding that a debtor
 has acted with merely the intent to delay, the intent to hinder, or the intent to defraud.” In re Tejal
 Inv., LLC, at *15 (emphasis added). Accordingly, because Section 362(d)(4) is drafted in the
 disjunctive, the Lender need only demonstrate that the filing of the Involuntary Case had the
 “mere” intent to delay, hinder, or defraud Lender from exercising its foreclosure rights. The intent
 of filing the Involuntary Case was done with the sole purpose of stopping Lender’s Second
 Trustee’s Sale. Had Henzel/MAPS filed any type of motion in the Chapter 11 Case requesting a
 stay of the Second Trustee’s Sale it would have been denied on the bases that the terms of the
 Agreement, which were incorporated into the 2nd Amended Plan, had already been approved and
 are binding upon all parties in the Chapter 11 Case. Furthermore, Henzel/MAPS knew that any
 argument to the contrary would have been meritless because—despite having actual notice of the
 terms of the Agreement—they sat on their rights and failed to object to approval thereof. However,
 by filing the Involuntary Case, Henzel/MAPS knew there was a substantial likelihood that the
 Adams County Public Trustee would not proceed with the Second Trustee’s Sale especially when
 receiving the petition moments before the sale. There can be no other intent than to stop the Second
 Trustee’s Sale—otherwise, what would be the point of commencing a whole new bankruptcy case?
 These concerted actions had the direct effect of both delaying, hindering, and defrauding Lender
 from exercising its state law foreclosure rights and satisfy the second element of Section
 362(d)(4)(B) of the Bankruptcy Code.

                    iii.   The Scheme Involved Multiple Bankruptcy Filings Affecting the
                           Property and Lender’s Exercise of its State Law Foreclosure Rights.

       55.     Both the Involuntary Case and the preceding, yet currently pending, Chapter 11
 Case were each filed to stop two separate foreclosure sales of the Property. The Chapter 11 Case


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 was filed on the eve of the First Trustee’s Sale. The Involuntary Case was filed on the morning of
 the Second Trustee’s Sale. With each sale, Lender was validly exercising its state law foreclosure
 rights. Accordingly, Lender has satisfied the final element of Section 362(d)(4)(B) thereby
 warranting relief from the automatic stay.

                    iv.   Because Lender has Carried its Burden for Relief Under Section
                          362(d)(4) of the Bankruptcy Code, the Order Granting This Motion
                          Should be Binding Upon all Parties in all Other Future Bankruptcy
                          Cases Involving the Debtor.

          56.    The flush language of Section 362(d)(4) of the Bankruptcy Code allows a creditor
 to record a copy of a stay relief order with the appropriate recording office for real property filings
 and further provides that such order is “binding in any other case under this title purporting to
 affect such real property filed not later than 2 years after the date of the entry of such order by the
 court . . .” 11 U.S.C. § 362(d)(4). Lender has satisfied the necessary requirements for an order to
 be entered under Section 362(d)(4) of the Bankruptcy Code and requests that such order be
 recordable and binding as provided for in the flush language.

 D.      Any Order Granting This Motion Should Waive the Stay Under Fed. R. Bankr. P.
         4001(a)(3).

        57.     Lender’s Note matured in October of 2017 and Lender has not been paid since June
 of 2017. (See Ex. C at ¶¶ 12 and 20). Lender has twice tried to exercise its state law rights to
 foreclose on the Property in order to begin collecting on its debt and has been prevented each time.
 Lender submits that the stay provided for under Fed. R. Bankr. P. 4001(a)(3) should be waived so
 that Lender may expeditiously proceed to a third foreclosure sale.

          WHEREFORE, Lender respectfully requests for the reasons stated above that the Court
 grant the Motion and enter an Order which grants its relief from the automatic stay: (i) for “cause”
 under Section 362(d)(1) of the Bankruptcy because this Involuntary Case was filed in bad faith;
 (ii) for “cause” under Section 362(d)(1) because the Agreement approved in the Chapter 11 Case
 is binding herein; (iii) pursuant to Section 362(d)(4) because this Involuntary Case was filed in
 connection with a scheme that was intended to hinder, delay, or defraud Lender in exercising its
 state law foreclosure rights; and (iv) for such other and further relief this Court deems fair and
 proper under the circumstances.




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 Dated:             Denver, Colorado
                    January 31, 2019
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